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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

JOHN A. ORTLAND                                                                           PLAINTIFF

V.                                                       CIVIL ACTION NO. 1:07cv1075LG-RHW

SHERIFF BRISOLARA, FORMER
SHERIFF GEORGE H. PAYNE, JR.,
MAJOR DIANNE GASTON-RILEY,
CAPTAIN PHIL TAYLOR, et al.                                                          DEFENDANTS

                                     MOTION TO COMPEL

       COME NOW the Defendants, George Payne, Jr., Dianne Gaston-Riley, Phil Taylor and

Melvin Brisolara, in their official and individual capacities, by and through their attorneys of record,

Dukes, Dukes, Keating & Faneca, P.A., and pursuant to the Federal Rules of Civil Procedure, file

this their Motion to Compel. In support of same, Defendants would show unto this Honorable Court

the following, to wit:

                                                   I.

       Defendants’ first set of Interrogatories, Requests for Production of Documents, and Requests

for Admission were propounded to the Plaintiff on or about June 4, 2009. [54, 55 and 56].

Responses to said discovery were therefore due on or about July 4, 2009. To date, Plaintiff has not

served any responses to Defendants’ discovery requests.

                                                  II.

       The undersigned certifies that a good faith effort has been made to resolve this discovery

dispute pursuant to uniform District Court Rule 37.1.           As stated in the August 25, 2009

correspondence, attached hereto as Exhibit “A”, counsel for these Defendants delivered via Federal

Express next day delivery, a good faith letter to Plaintiff, requesting that Plaintiff submit his
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responses to discovery or contact counsel for the Defendants on or before 12:00 noon on August 28,

2009. See Exhibit “A”. As requested, Plaintiff contacted undersigned counsel for the Defendants

via telephone, before noon on Friday, August 28, 2009 to inform undersigned counsel that Plaintiff

was not currently in a position to provide his responses to the discovery but did intend to do so at

some undisclosed time in the future, and requested a thirty (30) day extension.

                                                 III.

       On August 25, 2009, these Defendants filed a Motion for Extension of Time to Conduct

Discovery and file Dispositive Motions, in light of Plaintiff’s failure to respond to the discovery at

issue here. [58]. To date, the Court has not made a final ruling on Defendants’ Motion for Extension

of Time, and therefore Defendants request that Plaintiff be compelled to provide the discovery

responses immediately. Alternatively, and in the event the Court grants Defendants’ Motion for

Extension of Time, these Defendants do not object to a ten (10) day extension.

                                                 IV.

       In light of the foregoing, Defendants request an Order be entered against the Plaintiff

compelling him to furnish responses to Defendants’ discovery requests, either immediately or in the

alternative, within ten (10) days from the date of the Court’s order on this Motion. Counsel for the

Defendants hereby certify that they have attempted a good faith resolution to this matter pursuant

to Uniform Local Rule 37.1 for the Southern District of Mississippi.

       WHEREFORE, PREMISES CONSIDERED, these moving Defendants file their Motion to

Compel and respectfully request that this Court enter an Order compelling the Plaintiff to respond

to discovery as propounded to him by these Defendants immediately, or in the alternative, and in the

event the Court grants Defendants extension of time to conduct discovery and file dispositive

motions, would respectfully ask the Court to enter an order compelling Plaintiff to respond to
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discovery within ten (10) days of the Court’s Order.

       RESPECTFULLY SUBMITTED, this the 28th day of August, 2009.


                                     SHERIFF BRISOLARA, FORMER SHERIFF
                                     GEORGE H. PAYNE, JR., DIANNE GASTON-RILEY,
                                     CAPTAIN PHIL TAYLOR, DEFENDANTS

                                     BY:     DUKES, DUKES, KEATING & FANECA, P.A.


                                     BY:     s/Cy Faneca
                                             CY FANECA




Cy Faneca, MSB #5128
Jon S. Tiner, MSB #101733
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                                CERTIFICATE OF SERVICE

       I, CY FANECA, do hereby certify that I have this day electronically filed and delivered,
via United States Mail, postage fully pre-paid, a true and correct copy of the above and foregoing
pleading to the following:

               John A. Ortland c/o Mason Ulm Taylor
               10325 34th Avenue
               Gulfport, Mississippi 39503
                      Plaintiff

               Karen J. Young, Esquire
               Post Office Box 1076
               Gulfport, Mississippi 39502
                      Attorney for Harrison County, Mississippi

               Ian A. Brendel, Esquire
               Post Office Box 1839
               Gulfport, Mississippi 39502
                      Attorney for Rick Gaston

               Robert H. Pedersen, Esquire
               Post Office Box 650
               Jackson, Mississippi 39205-0650
                      Attorney for Health Assurance, LLC

       This, the 28 th day of August, 2009.
                                                     s/Cy Faneca
                                                     CY FANECA



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